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                      UNITED STATES DISTRICT COURT
                         DISTRICT OF NEW JERSEY



UNITED STATES OF AMERICA             :     Honorable Robert B. Kugler,
                                           U.S.D.J.
            v.                       :

THOMAS SHER                          :     Crim. No. 19-191-6 (RBK)




        MOTIONS IN LIMINE AND FOR RECIPROCAL DISCOVERY
               BY THE UNITED STATES OF AMERICA




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       On March 13, 2019, a federal grand jury in New Jersey indicted defendant Thomas

Sher on charges of conspiracy to commit health care and wire fraud in violation of 18

U.S.C. § 1349 and several substantive counts of health care fraud in violation of 18 U.S.C.

§ 1347. Trial in this matter is set to commence on August 15, 2022. In advance of trial,

the Government respectfully submits these motions.

I.     FACTUAL BACKGROUND

       Defendant Thomas Sher was a firefighter in Margate, New Jersey in 2015. Sher

and his wife, a schoolteacher, had government health insurance through the State of New

Jersey. At the time, government health insurance plans for state and local employees,

such as Sher’s plan, covered very expensive compound prescription medications.

Compound medications are specialty medications that are supposed to be tailored to meet

the specific needs of a particular patient and are therefore not mass produced.

       The conspiracy in this case was led by William Hickman, who has since pled guilty.

Hickman and others working with him discovered that the health insurance plans for

New Jersey public employees would pay very high amounts for certain compound

medications. Hickman therefore recruited individuals, personally and through other

recruiters underneath him, to obtain medically unnecessary compound prescription

medications from several pharmacies, including Central Rexall Drugs, Inc. (“Central

Rexall”) in Louisiana. 1 Hickman entered into an agreement with Central Rexall to

market compound medications in exchange for approximately half of the insurance


1  Three executives of Central Rexall were charged in a 24-count indictment on September
16, 2020. See United States v. Johnston, et al, 20-cr-800 (RBK). Central Rexall’s chief
executive officer pled guilty to the criminal conspiracy on August 12, 2020. See United States
v. Taff, 20-cr-696 (RBK).

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reimbursement on prescriptions he and those working under him arranged. Hickman,

through his company Boardwalk Medical LLC, received payment from Central Rexall.

Hickman then distributed a percentage of that payment to the recruiters under him

responsible for arranging the prescriptions, who in turn gave a percentage of that

payment to sub-recruiters underneath them.         Michael Sher was a recruiter under

Hickman. 2 Michael Sher recruited others into the scheme to work underneath him—

including his brother, defendant Thomas Sher.

       Thomas Sher and his wife received several prescriptions for compound

medications in connection with their health insurance plan administered through the

State of New Jersey. Sher also recruited numerous family members, friends, neighbors,

and members of his gym to agree to receive prescriptions for medically unnecessary

compound medications. These prescriptions were primarily signed by Dr. John Gaffney,

who was paid and offered remuneration by Sher’s co-conspirators in exchange for

authorizing the prescriptions. In certain instances, other medical professionals signed

the prescription forms, but it was never disclosed to them that the medications were not

needed and that the recipients of the compound medications and their family members

or friends would be making money from the prescription. And, although compound

medications are supposed to be specialty medications tailored to the individualized needs

of a particular patient, all of the individuals recruited by Sher received the same

medications at approximately the same time.

       Under the guise of a “referral fee” or “signing bonus,” Sher paid many of these



2 Michael Sher pled guilty to the scheme. See United States v. Michael Sher, 18-cr-95
(RBK).
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individuals cash to secure their agreement to receive the medications. The prescriptions

typically listed the highest number of monthly refills available for the medication—not

because such refills were wanted or needed, but to maximize profit. These medically

unnecessary medications cost the insurance companies thousands of dollars per month.

They often piled up in recipients’ homes or were discarded by recipients. And, when

insurance stopped covering a particular ingredient in a medication, the co-conspirators

swapped that ingredient with another ingredient—which they selected not because it was

medically equivalent to the prior ingredient, but rather solely because the new ingredient

reimbursed for a high amount by insurance.           Sher, in turn, arranged for new

prescriptions with the new ingredients for the people he recruited—without having them

see a doctor prior to the change and typically without disclosing the ingredient change to

them. Sher’s direct conduct caused the State of New Jersey to pay out over $936,000.00

for prescriptions that were not needed and which were sought only to enrich himself.

II.   MOTIONS

      A.     The Court Should Preclude Evidence or Argument Blaming the
             Victim for Failing to Discover the Fraudulent Scheme.

      At trial, Sher may argue or suggest that his conduct was lawful because the

victim Pharmacy Benefits Administrator and insurance plans continued to pay for

and did not at the time question or cease coverage of the compound medication

prescriptions at issue.    However, such arguments that “blame the victim” are

irrelevant to the issues at trial and would mislead the jury.

      It is well-established that “[t]he negligence of the victim in failing to discover

a fraudulent scheme is not a defense to criminal conduct.” United States v. Coyle, 63

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F.3d 1239, 1244 (3d Cir. 1995). In United States v. Leadbeater, 2015 WL 567025, at

*8-9 (D.N.J. Feb. 10, 2015), a mortgage fraud case, the defendants sought to argue at

trial that their conduct was lawful because the victim lenders failed to scrutinize the

loan applications at issue and did not stop the conduct. Id. at *8. Chief Judge

Simandle rejected the defendants’ argument and precluded them from suggesting at

trial that the lenders “were not sufficiently careful or prudent in protecting

themselves from fraud.” Id. at *9. In so doing, Chief Judge Simandle recognized that

“how closely the victim lenders scrutinized the loan applications” was irrelevant at

trial and that the relevant inquiry instead was whether “the defendants had an

agreement to defraud.” Id. (citing Neder v. United States, 527 U.S. 1, 24-25 (1999)).

Thus, Chief Judge Simandle barred this irrelevant and misleading “blame the victim”

argument. Leadbeater, 2015 WL 567025, at *9; see also United States v. Rivera-Ortiz,

14 F.4th 91, 101-02 (1st Cir. 2021) (noting that “the district court repeatedly justified

its exclusionary ruling based on a concern that Rivera, in drawing attention to the

lack of action by the relevant agencies, might be suggesting a kind of ‘blame-shifting’

defense that would confuse jurors”).

        Just as in Leadbeater and Rivera-Ortiz, it is irrelevant whether the Pharmacy

Benefits Administrator and insurance companies unveiled the fraud or ceased

payment on the insurance claims at the time. Rather, what the jury must and solely

should consider is evidence relevant to whether: (1) two or more persons agreed to

commit health care and wire fraud; (2) the defendant was a party to or member of

that agreement; and (3) the defendant joined the agreement knowing of its objective

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to commit health care and wire fraud and intended to join together with at least one

co-conspirator to achieve that objective. See Third Circuit Model Jury Instructions §

6.18.371A. Blaming the victim or suggesting that the Defendant’s conduct was lawful

because the Pharmacy Benefits Administrator and insurance plans continued to

cover the compound medications would significantly confuse the issues at trial and

mislead the jury. Accordingly, the Court should preclude Sher from arguing or

suggesting at trial that the Pharmacy Benefits Administrator and insurance

companies’ continued payment of claims or failure to identify the fraud are a defense

to his conduct. 3

       B.     Statements of Co-Conspirators Should Be Admitted as Non-
              Hearsay at Trial.

       Pursuant to Federal Rule of Evidence 801(d)(2)(E), an out-of-court statement

is admissible as non-hearsay when the Government demonstrates by a

preponderance of the evidence that: (1) a conspiracy existed when the statement was

made; (2) both the declarant and the defendant against whom the statement is offered

were members of that conspiracy; and (3) the statement was made during the course

of, and in furtherance of, the conspiracy. Bourjaily v. United States, 483 U.S. 171,

175-76 (1987); United States v. Bobb, 471 F.3d 491, 498-99 (3d Cir. 2006). In making

a factual determination of the admissibility of co-conspirator statements under this

rule, the Court may consider the statements themselves as well as any other

independent evidence of the conspiracy. Bourjaily, 483 U.S. at 180-81; United States


3 As the Court will recall, it ruled in a related case, United States v. Monaco, 19-cr-716 (RBK),
that the defendant in that case was precluded from making such arguments before the jury.
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v. McGlory, 968 F.2d 309, 333-34 (3d Cir. 1992). Even a statement by an anonymous

declarant may be admissible if “the [G]overnment [can] show that the unknown

declarant was more likely than not a coconspirator.” Id. at 335 (quoting United States

v. Helmel, 769 F.2d 1306, 1313 (8th Cir. 1985)).

      As described in detail above, Sher was one of several co-conspirators in this

extensive scheme. At trial, the Government will make the requisite showing, by a

preponderance of the evidence, that the statements of his co-conspirators fall under

Rule 801(d)(2)(E), as they were made during a conspiracy by declarants who were

members of the same conspiracy as the defendant and were made during the course,

and in furtherance, of that conspiracy. See Bobb, 471 F.3d at 498-99.

      As to the first two elements, the Court need only find, by a preponderance of

the evidence after considering the statement itself and other evidence at trial, that

the conspiracy existed and that the declarant was more likely than not a co-

conspirator. See McGlory, 968 F.2d at 333-36; United States v. Cruz, 910 F.2d 1072,

1080-83 (3d Cir. 1990). “[O]nce the Government establishes a defendant’s

involvement in an ongoing conspiracy, the burden shifts to the defendant to prove by

affirmative acts inconsistent with the object of the conspiracy that he withdrew.”

United States v. Gibbs, 739 F.2d 838, 845 (3d Cir. 1984). The Ninth Circuit has even

held that “admissions and statements of a co-defendant are admissible as against the

other even in the absence of a conspiracy count where there is independent evidence

of a concert of action.” United States v. Williams, 435 F.2d 642, 645 (9th Cir. 1970).

      As to the third and final element, the Third Circuit has explained that “[t]he

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threshold for establishing that a statement was made in furtherance of a conspiracy

is not high.” United States v. Duka, 671 F.3d 329, 348 (3d Cir. 2011). Additionally,

the “in furtherance of” requirement has been given “a broad interpretation.” United

States v. Weaver, 507 F.3d 178, 183 (3d Cir. 2007) (quoting Gibbs, 739 F.2d at 845).

For example, statements are made in furtherance of the conspiracy where they are:

directed to the purpose of the conspiracy, United States v. Ammar, 714 F.2d 238, 253

(3d Cir. 1983); “intended to promote the conspiratorial objectives of the conspiracy,”

United States v. Weaver, 507 F.3d 178, 184 (3d Cir. 2007) (quoting United States v.

Reyes, 798 F.2d 380, 384 (10th Cir. 1986)); merely inform the hearer about the status

of the conspiracy; or intended to conceal the conspiracy so that the conspiracy can

continue, in which case the hearer need not be a coconspirator, Weaver, 507 F.3d at

181-87. Moreover, discussions among co-conspirators about prior events still meet

the “in furtherance of” requirement when the statements form the basis for informing

co-conspirators about the overall status of the conspiracy. Id. at 184. Similarly,

statements are admissible when a co-conspirator keeps other co-conspirators “abreast

of developments to induce their continued participation” in the conspiracy. Gibbs,

739 F.2d at 846.

      Given the vast scope of the conspiracy in this case, the Government anticipates

evidence of numerous co-conspirator statements. The Court should find that the

statements of Sher’s co-conspirators are admissible at trial as non-hearsay under

Rule 801(d)(2)(E).



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        C.     Improper Character Evidence Should Be Excluded at Trial.

        The Government anticipates that Sher may attempt to present evidence or

elicit testimony of his prior instances of “good conduct” or “good works” related to his

position as a firefighter, including matters such as positive evaluations, promotions,

awards, commendations, or other community service and accolades. Similarly, Sher

may also seek to introduce evidence of positive character traits affiliated with his role

as a firefighter, including bravery, dedication, honor, and selflessness. The Court

should exclude such evidence at trial as inadmissible under the Federal Rules of

Evidence. Moreover, to the extent certain character evidence is permitted at trial

through character witnesses, the Court should limit its use to the proper form

required by the evidentiary rules.

               1.      Evidence of the Defendant’s Good Character                         or
                       Reputation is Inadmissible Under Rules 404 and 405.

        Federal Rule of Evidence 404 generally prohibits the introduction of evidence

of a person’s character to prove that a person acted in conformity with that character

trait on a particular occasion. The rule provides a narrow exception for the admission

of character evidence related to the accused, but only when the evidence relates to a

“pertinent,” or relevant, character trait. See Fed. R. Evid. 404(a)(1). 4




4   Rule 404 provides, in pertinent part, as follows:

        (a) Character Evidence. (1) Prohibited Uses. Evidence of a person’s character
        or character trait is not admissible to prove that on a particular occasion the
        person acted in accordance with the character or trait. (2) Exceptions for a
        Defendant or Victim in a Criminal Case. The following exceptions apply in a
        criminal case: (A) a defendant may offer evidence of the defendant’s pertinent
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         Assuming the criteria of Rule 404 has been met, under Rule 405, 5 evidence of

a pertinent character trait generally cannot address specific instances of conduct, but

rather must be in the form of testimony as to reputation or in the form of an opinion. 6

See Fed. R. Evid. 405(a).         However, “[i]n cases in which character or a trait of

character of a person is an essential element of a charge, claim, or defense, proof may

also be made of specific instances of that person’s conduct.” Fed. R. Evid. 405(b). 7



         trait, and if the evidence is admitted, the prosecutor may offer evidence to
         rebut it[.]

5   Rule 405 provides, in pertinent part, as follows:

         (a) By Reputation or Opinion. When evidence of a person’s character or
         character trait is admissible, it may be proved by testimony about the person’s
         reputation or by testimony in the form of an opinion. On cross-examination of
         the character witness, the court may allow an inquiry into relevant specific
         instances of the person’s conduct. (b) By Specific Instances of Conduct. When
         a person’s character or character trait is an essential element of a charge,
         claim, or defense, the character or trait may also be proved by relevant specific
         instances of the person’s conduct.

6 As noted in the Advisory Committee Notes to Rule 405: “evidence of specific instances of
conduct is the most convincing. At the same time, it possesses the greatest capacity to arouse
prejudice, to confuse, to surprise, and to consume time. Consequently, the rule confines the
use of evidence of this kind to cases in which character is, in the strict sense, in issue and
hence deserving of a searching inquiry.”

7 In addition to Rules 404 and 405, any such character evidence would be inadmissible under
Rules 401 and 403 as irrelevant and unduly prejudicial to the Government. See United States
v. Warner, 396 F. Supp. 2d 924, 941 (N.D. Ill. 2005) (rejecting former governor’s claim that
his “personal integrity and dedication to promoting the common good through public service”
constitutes a character trait admissible under Rule 401(a)(1)), aff’d, 498 F.3d 666 (7th Cir.
2007). Here, any evidence as to the Defendant’s alleged good character has nothing to do
with whether he conspired to commit health care or wire fraud. This evidence would be
unduly prejudicial to the Government and would mislead the jury, as its admission at trial
could have a tendency to suggest that the jury make a decision on an improper basis. See
Fed. R. Evid. 403, Adv. Comm. Notes (“‘Unfair prejudice’ within its context means an undue
tendency to suggest decision on an improper basis, commonly, though not necessarily, an
emotional one.”).

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      United States v. Washington, 106 F.3d 983 (D.C. Cir. 1997) is instructive on

this point. In Washington, the defendant was a police officer charged with bribery

and corruption. Id. at 992. The defendant sought to introduce evidence of several

commendations he received for his work while on the police force. Id. at 999. The

appellate court upheld the district court’s ruling excluding the evidence under Rules

404(a)(1) and 405, finding that: “the commendations were not admissible under either

Rule because appellant’s ‘dedication, aggressiveness and assertiveness’ in

investigating drug dealing and carjacking is neither ‘pertinent’ to nor an ‘essential

element’ of his supposed lack of predisposition to engage in the corrupt criminal

activity with which he was charged.” Id.

      Similarly, United States v. Nazarro, 889 F.2d 1158 (1st Cir. 1990) also rejected

a defendant police officer’s request to admit certain character evidence related to

positive attributes and good works as a police officer. In Nazarro, the defendant was

charged with mail fraud and perjury. Id. at 1160. At trial, the defendant attempted

to offer into evidence his resume and other anecdotal proof of commendations he

received for his service in the military and police force, as well as a medal bestowed

upon him for special valor. Id. at 1168. The appellate court affirmed the district

court’s decision to exclude the material, noting that “the traits which [the materials]

purport to show—bravery, attention to duty, perhaps community spirit—were hardly

‘pertinent’ to the crimes of which Nazzaro stood accused.” Id.

      Moreover, this Court’s sister court in the Eastern District of Pennsylvania

addressed a similar argument in United States v. Fumo, Crim. No. 06-319. In that

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case, a state senator was charged with fraud and obstruction related to his misuse of

state funds.    Prior to trial, the Government successfully excluded the senator’s

legislative, policy, and constituent service accomplishments as impermissible

character evidence under Rules 404 and 405. See Docket Nos. 253, 294.

      Here, just as in Washington, Nazarro, and Fumo, any character evidence

offered to prove Sher’s alleged “good character”—such as bravery, attention to duty,

honor and valor, commitment to public service, etc.—is not admissible under Rules

404(a) and 405 because it is not pertinent to the conspiracy and health care fraud

charges brought against him. Evidence or testimony about Sher’s prior good works

or community service are likewise inadmissible. 8 Accordingly, the Court should

preclude the Defendant from introducing such evidence and arguments at trial.

               2.   If Certain Character Evidence is Permitted at Trial, It
                    Must be Limited in Form to Testimony as to the Witness’
                    Opinion of the Defendant or the Defendant’s Reputation.

      The Federal Rules of Evidence allow a defendant to offer evidence of his good

character to show, by inference, that the act with which he is charged is inconsistent

with his overall character. See Fed. R. Evid. 404(a)(1); 1A J. Wigmore, Evidence, §

56, at 1161 (Tillers rev. 1983). However, even when character evidence may be

admissible and potentially probative, the rules still limit its use at trial. As noted

above, assuming the criteria of Rule 404 has been met, under Rule 405, evidence of a



8 The Court should also exclude arguments that the jury should acquit Sher based upon
sympathy or his alleged good character. Such argument is tantamount to jury nullification.
See United States v. DeMuro, 677 F.3d 550, 565-66 (3d Cir. 2012).

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pertinent character trait cannot address specific instances of conduct, but rather

must be in the form of testimony as to reputation or opinion on direct examination.

See Fed. R. Evid. 405(a); Michelson v. United States, 335 U.S. 469, 477 (1948). On

cross-examination, however, the Court may allow inquiry into relevant specific

instances of the accused’s conduct. See Fed. R. Evid. 405(a).

       Here, to the extent the Court permits the Defendant to call certain witnesses

to testify that the acts with which he is charged are inconsistent with his overall

character, 9 any such questions on direct examination must be in the form of

reputation or opinion testimony and cannot inquire into specific instances of the

Defendant’s conduct and character under Rule 405(a). See Michelson, 335 U.S. at 477

(“The witness may not testify about defendant’s specific acts or courses of conduct or

his possession of a particular disposition or of benign mental and moral traits[.]”).

For example, a witness can testify that he is familiar with the Defendant’s reputation

and that he has a reputation for being honest. The witness cannot, however, refer to



9 The Court has broad discretion to limit the number of character witnesses called by the
Defense at trial. See United States v. Sullivan, 803 F.2d 87, 90 (3d Cir. 1986) (finding that
district court did not abuse its discretion in excluding defendants’ character witnesses on
grounds that testimony was cumulative); United States v. Johnson, 730 F.2d 683, 688 (11th
Cir. 1984) (affirming district court’s decision to limit number of character witnesses to three).
Indeed, limiting the number of defense character witnesses is a common practice. United
States v. Gray, 105 F.3d 956, 963 (5th Cir. 1997) (noting that “[t]his court has repeatedly
allowed a maximum of three character witnesses”); United States v. Benefield, 889 F.2d 1061,
1065 (11th Cir. 1989) (affirming decision to reduce character witnesses from ten to five);
United States v. Koessel, 706 F.2d 271, 275 (8th Cir. 1983) (affirming limitation of three
character witnesses). Here, the Government is not requesting that the Court limit the
Defendant to calling a specific number of character witnesses. Rather, at the appropriate
time, the Government requests that the Court ask the Defendant to make a proffer to these
witnesses’ testimony and to limit the number of character witnesses based on that proffer.

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any specific instances of good conduct or honesty engaged in by the Defendant. See

id. (“The witness is [ ] allowed to summarize what he has heard in the community . .

. [t]he evidence which the law permits is not as to the personality of the defendant

but only as to the shadow his daily life has cast in his neighborhood.”).

      To the extent the Defendant calls any character witnesses to testify on his

behalf, the Government would then be permitted to inquire into certain relevant

specific instances of the Defendant’s conduct on cross-examination. See Fed. R. Evid.

405(a) (“On cross-examination of the character witness, the court may allow an

inquiry into relevant specific instances of the person’s conduct.”). This is because

“[t]he price a defendant must pay for attempting to prove his good name is to throw

open the entire subject which the law has kept closed for his benefit and to make

himself vulnerable where the law otherwise shields him. . . . Thus, while the law gives

[the] defendant the option to show as a fact that his reputation reflects a life and

habit incompatible with commission of the offense charged, it subjects his proof to

tests of credibility designed to prevent him from profiting by a mere parade of

partisans.” Michelson, 335 U.S. at 477. Thus, if Sher opens the door by calling

character witnesses, the Government should be permitted on cross-examination to

inquire about specific instances of his conduct.

             D.     Witnesses and Spectators Should Be Barred from Wearing
                    Uniforms or Insignia in the Courtroom So As Not To
                    Unduly Influence or Intimidate the Jury.

      As noted above, Sher was a firefighter with the Margate Fire Department

during the course of conspiracy. He recruited numerous family members and friends

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to receive the compound medications—many of whom were firefighters, lifeguards,

teachers, or other government and civic employees—because they had the requisite

insurance plans that covered the medications. The Government anticipates that

several of these individuals may be called to testify at trial or otherwise be present in

the gallery of the courtroom.

      The presence of uniforms or insignia in the courtroom may affect the

Government’s right to a fair trial and may unduly influence or intimidate jurors. For

example, uniforms and insignia may unduly lend an air of credibility to the Defendant

via his association with such individuals. And, even if uniformed individuals do not

actively seek to intimidate the jury, the mere presence of uniforms or insignia could

nevertheless have that effect, which could in turn unduly influence the verdict. Thus,

the Government requests that the Court establish a courtroom rule that witnesses

and courtroom spectators should not invoke the color of their offices or organizations

by wearing a uniform, badge, or any other items that would identify them as public

service officers and employees.

      The Court has the power to dictate rules regarding courtroom attire and

decorum and federal courts have previously created such rules to protect the integrity

of the legal process. See e.g., United States v. Tsarnaev, 157 F. Supp. 3d 57, 64 at n.9

(D. Mass. 2016) (referencing “decorum order” which, among other things, directed

spectators not to wear or carry “‘any clothing, buttons, or other items that carry any

message or symbol addressing the issues related to this case that may be or become

visible to the jury,’ including law enforcement uniforms and badges”); United States

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v. Bodkins, 2005 WL 1118158, at *3 (W.D. Va. May 11, 2005) (issuing order declaring

“in order to protect the defendants’ right to a fair trial, the court holds that

participants and spectators will be prohibited from wearing or displaying any case

specific items of any sort, reflecting support for either side”).

       To be clear, the Government does not request that public service officers and

employees be barred from attending or testifying at trial. Rather, the Government

merely requests that, if such individuals do attend or testify at trial, that they refrain

from wearing a uniform, badge, or any other items that would identify them as public

service officers and employees to the casual observer. This minor restriction will help

to ensure that the jury will not be unduly intimidated or influenced.

       E.     The Government Should Be Permitted to Ask Leading Questions
              on Direct Examination if Witnesses Demonstrate Hostility or
              Identify with an Adverse Party.

       It is possible that, in the course of presenting witness testimony during the

Government’s case-in-chief, certain witnesses will demonstrate hostility.                  For

example, witnesses may be unwilling to respond directly to questions, feign

forgetfulness, or may demonstrate a churlish disposition.               If this occurs, the

Government should be permitted to question hostile witnesses with leading questions

as if on cross-examination pursuant to Federal Rule of Evidence 611(c). 10

       When a witness is identified as having a relationship with an adverse party,



10Rule 611(c) provides, in pertinent part, as follows: “Leading questions should not be used
on direct examination except as necessary to develop the witness’s testimony. Ordinarily,
the court should allow leading questions . . . when a party calls a hostile witness, an adverse
party, or a witness identified with an adverse party.”
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the Court has discretion to permit the Government to ask leading questions on direct.

See United States v. Hicks, 748 F.2d 854, 859 (4th Cir. 1984); Hainey v. Mizell

Memorial Hosp., 744 F.2d 1467, 1477-78 (11th Cir. 1984) (finding that actual hostility

is not required if witness is “identified with” opposing party); Ellis v. Chicago, 667

F.2d 606, 612 (7th Cir. 1981). Whether a witness is hostile or identified with an

adverse party involves consideration of several factors, including: the nature of the

witness’ relationship with a party, demeanor, facial expression, voice inflections, and

whether the witness’ answers are evasive. See United States v. Tunnell, 667 F.2d

1182, 1188 (5th Cir. 1982); United States v. Brown, 603 F.2d 1022, 1025 (1st Cir.

1979) (recognizing that witness was close friend of defendant); United States v.

Cisneros-Gutierrez, 517 F.3d 751, 762 (5th Cir. 2008) (noting that a hostile witness

can be one who feigns memory loss or is reluctant to divulge memory). And, in

instances where witnesses may have participated in events that are in some way

related to the alleged criminal activity, the Court has discretion to allow the

Government to ask leading questions as if on cross. See Brown, 603 F.2d at 1026.

      Many of the witnesses that the Government anticipates calling in its case-in-

chief were participants in events related to the crimes with which Sher is charged.

Indeed, Sher worked alongside his brothers in recruiting individuals to receive

prescriptions for the compound medications—both of whom have been charged for

their conduct in the conspiracy. The Defendant recruited numerous family members

and close friends to receive the medications. The Government anticipates calling

several of these individuals to the stand during its case-in-chief. It is highly possible

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that, while testifying on direct examination, these individuals may demonstrate the

characteristics that courts generally have recognized as evincing hostility towards

the questioning party.    Should this occur, the Government requests that it be

permitted to treat such witnesses as hostile and to use leading questions on direct

examination of these witnesses.

      F.     Prior Grand Jury Testimony Should Be Admitted as Substantive
             Evidence if Witnesses Claim Memory Loss or Equivocate During
             Their Trial Testimony.

      During the investigation of the conspiracy, several individuals testified before

the grand jury. The Government anticipates that several of these individuals will

now be called to testify at trial. To the extent that witnesses who testified before the

grand jury now claim memory loss or equivocate during their trial testimony, the

Government seeks admission of their prior grand jury testimony as substantive

evidence.

      Sworn prior inconsistent statements are admissible as substantive evidence

under Rule 801(d)(1)(A) if the declarant is available for cross-examination in the

current proceeding. It is well-established that poor recall of events, equivocation, and

claims of memory loss satisfy the requirement of “inconsistent” testimony under this

rule. See United States v. Mornan, 413 F.3d 372, 379 (3d Cir. 2005); United States v.

Mayberry, 540 F.3d 506, 516 (6th Cir. 2008) (finding grand jury testimony admissible

as substantive evidence after witness claimed memory loss); United States v. Tran,

568 F.3d 1156, 1163 (9th Cir. 2009) (admitting portion of plea agreement into

evidence at trial that was inconsistent with reluctant and evasive in-court testimony).

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      Although the Third Circuit has noted that a prior statement should not be

admitted if the witness’ current memory loss regarding that statement is genuine,

United States v. Palumbo, 639 F.2d 123, 128 n.6 (3d Cir. 1981), it has held that a

prior statement may be admitted under Rule 801(d)(1)(A) where the witness’ memory

loss is not genuine. See Mornan, 413 F.3d at 379; United States v. Odom, 627 F. App’x

151, 153-54 (3d Cir. 2015) (noting that admission of grand jury testimony as prior

inconsistent statement was not an abuse of discretion because witness’ claim of

memory loss appeared to be disingenuous); United States v. Gerard, 507 F. App’x 218,

221-22 (3d Cir. 2012) (finding that witness’ prior grand jury testimony was admissible

where witness’ trial testimony “was a complete reversal of her sworn grand jury

testimony, in which she offered a detailed, first-person account”); United States v.

Iglesias, 535 F.3d 150, 159 (3d Cir. 2008) (“[W]here a witness demonstrates a

‘manifest reluctance to testify’ and ‘forgets’ certain facts at trial, this testimony can

be inconsistent under Rule 801(d)(1)(A).”); United States v. Bigham, 812 F.2d 943,

946-47 (5th Cir. 1987) (admitting prior grand jury testimony where the witness “was

obviously [ ] evasive and reluctant [ ] and the trial judge reasonably could have

concluded that his loss of memory was feigned”).

      The Court has broad discretion to determine if an evasive answer is

inconsistent with statements made in another proceeding. This is so because the

policy behind Rule 801(d)(1)(A) is to “provide a party with desirable protection against

the turncoat witness who changes his story on the stand and deprives the party

calling him of evidence essential to his case.” Bigham, 812 F.2d at 946-47. Thus,

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partial or vague recollection is deemed to be inconsistent with total or definite

recollection. United States v. Distler, 671 F.2d 954, 958 (6th Cir. 1981); see also

United States v. Marchand, 564 F.2d 983, 999 (2d Cir. 1977) (allowing the admission

of grand jury testimony where the witness forgot or denied facts at trial). Further,

as noted in Argnellino v. New Jersey, 493 F.2d 714, 730 (3d Cir. 1974), “[a] complete

answer to a question may be as inconsistent with a partial reply as one completely

different in detail.” If the prior statement indicates that, at an earlier time, the

witness remembered the events about which he testified with more certainty or in

more detail, then it is permissible to admit the prior statement of the witness who

recalled the event incompletely or with some equivocation. Distler, 671 F.2d at 958.

       Thus, in the event that a witness claims an inability to recall certain facts or

is evasive in testifying about details previously provided before the grand jury, the

Government requests that the Court find that such statements are admissible under

Rule 801(d)(1)(A) and admit such testimony as substantive evidence at trial.

      G.     The Court Should Preclude Any Reference to Possible
             Punishment or Collateral Consequences of Conviction.

      The Court should preclude the Defense from referring―whether directly or

indirectly―to issues concerning possible punishment should the Defendant be

convicted on any or all of the counts in the Indictment. This preclusion should extend

to discussion or mention of possible collateral consequences, such as potential impact

on the Defendant’s livelihood or ability to collect his state pension. This preclusion

should apply to opening and closing statements, cross-examination of Government


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witnesses, direct examination of defense witnesses, documentary exhibits, and any

statements made in open court before the jury.

       The jury’s sole function is to determine guilt or innocence. Evidence regarding

punishment or the effects of conviction is irrelevant and inadmissible before the jury.

The punishment provided by law upon conviction is a matter exclusively within the

province of the Court and should never be considered by the jury in any manner in

arriving at their verdict as to guilt or innocence. See Beavers v. Lockhart, 755 F.2d

657, 662 (8th Cir. 1985) (“Historically, the duty of imposing sentence has been vested

in trial judges.”); United States v. Brown, 744 F.2d 905, 909 (2d Cir.), cert. denied, 431

U.S. 941 (1977). 11

       The presentation or insinuation of such information to the jury creates a

substantial danger that the jury will consciously or subconsciously allow knowledge

of such punishment to impact their deliberations. “The jury’s function is to find the

facts and to decide whether, on those facts, the defendant is guilty of the crime

charged.” Shannon v. United States, 512 U.S. 573, 579 (1994). Providing jurors with

information regarding sentencing or collateral consequences of conviction invites

them to consider matters outside the facts and evidence and “creates a strong

possibility of confusion.” Id.; see also Pope v. United States, 298 F.2d 507, 508 (5th




11Indeed, Third Circuit Model Criminal Jury Instruction § 3.16—which this Court routinely
provides to the jury in its instructions—states that: “If you decide that the Government has
proved a defendant guilty of a crime, then it will be my responsibility to decide what the
appropriate punishment should be. You should never consider the possible punishment in
reaching your verdict.” The Government will include this jury instruction in its proposed
jury instructions.
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Cir. 1962); Rogers v. United States, 422 U.S. 35, 40 (1975); United States v. Greer, 620

F.2d 1383, 1385 (10th Cir. 1980) (noting that, absent a statutory requirement that

the jury participate in the sentencing decision, nothing is left for jury determination

beyond the guilt or innocence of the accused).

      Evidence which relates to the issue of punishment upon conviction of a

criminal offense has no bearing on the only question that the jury will be called upon

to decide at trial: Sher’s guilt or innocence. Thus, any evidence or insinuation as to

punishment or collateral consequences should be barred at trial.

      H.     The Defendant Should Be Ordered to Provide Reciprocal
             Discovery to the Government As Soon As Possible.

      The right of the Government to reciprocal discovery from the Defense is firmly

established in Rule 16(b)(1)(A) and (B) of the Federal Rules of Criminal Procedure.

This provision allows the Government, upon compliance with a legitimate request by

a defendant for similar material, to:

      inspect and copy or photograph books, papers, documents, photographs,
      tangible objects, or copies or portions thereof, which are within the
      possession, custody, or control of the defendant and which the defendant
      intends to introduce as evidence in chief at trial.

Fed. R. Crim. P. 16(b)(1)(A).

      Under the clear language of this rule, courts uniformly have allowed reciprocal

discovery. See, e.g., United States v. Bump, 605 F.2d 548, 551-52 (10th Cir. 1979)

(requiring reciprocal disclosure over defendant’s objection that it would violate his

constitutional rights); United States v. Sherman, 426 F. Supp. 85, 93 (S.D.N.Y. 1976).



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      To date, the Government has produced over 330,000 documents to the Defense

in discovery.   Since discovery has been made available to the Defense, the

Government is entitled—pretrial—to reciprocal discovery under Rule 16(b). To the

extent the Defendant has any discovery in his possession, he should be ordered to

provide these materials to the Government as soon as possible in advance of trial.



                                        ***


      For the reasons set forth above, the Court should grant the Government’s

Motions in their entirety.




                                              Respectfully Submitted,




                                              ____________________________
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                         CERTIFICATE OF SERVICE

     I, Christina O. Hud, hereby certify that I served the Government’s Motions in
Limine and for Reciprocal Discovery on the below counsel via electronic filing on
ECF/PACER:

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                                             ____________________________
                                             CHRISTINA O. HUD
                                             Assistant U.S. Attorney
                                             United States Attorney’s Office
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Date: July 18, 2022




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